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                                                                                            C-122-858
                                                                                              Remand
                                                                                       Slip Op. 22-126
                                                                         Changed Circumstances Review
                                                                                      Public Document
                                                                                        E&C/OIII: KJ

     GreenFirst Forest Products and GreenFirst Forest Products (QC) Inc. v. United States
               Court No. 22-00097, Slip Op. 22-126 (CIT November 18, 2022)
                     Certain Softwood Lumber Products from Canada

                           FINAL RESULTS OF REDETERMINTION
                              PURSUANT TO COURT REMAND

I.      SUMMARY

        The U.S. Department of Commerce (Commerce) has prepared these final results of

redetermination in accordance with the opinion and remand order of the U.S. Court of

International Trade (CIT or the Court) issued on November 18, 2022, in GreenFirst Forest

Products and GreenFirst Forest Products (QC) Inc. v. United States, Court No. 22-00097, Slip

Op. 22-126 (CIT November 18, 2022) (Remand Order). These final results of redetermination

concern Commerce’s decision not to initiate and conduct a changed circumstances review (CCR)

for GreenFirst Forest Products and GreenFirst Forest Products (QC) Inc. (collectively,

GreenFirst) in the countervailing duty (CVD) order1 on certain softwood lumber products from

Canada.2 In the Remand Order, the CIT remanded Commerce’s decision to not initiate the CCR

for further explanation or reconsideration.3




1
  See Certain Softwood Lumber Products from Canada: Amended Final Affirmative Countervailing Duty
Determination and Countervailing Duty Order, 83 FR 347 (January 3, 2018) (Order).
2
  See Commerce’s Letters, “Countervailing Duty Changed Circumstances Review Request,” dated November 16,
2021 (Decision Letter); and “Countervailing Duty Changed Circumstances Review: Request for Reconsideration of
Decision Not to Initiate,” dated February 24, 2022 (Reconsideration Letter).
3
  See Remand Order at 10.
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II.     BACKGROUND

        A. CCR Request

        On January 3, 2018, Commerce published the Order.4 On October 4, 2021, GreenFirst

requested that Commerce conduct a CCR of the Order to determine that GreenFirst is the

successor-in-interest to Rayonier A.M. Canada G.P. (RYAM) for the purpose of assigning a cash

deposit rate under the Order.5 RYAM has never been individually examined, but was subject to

the all-others rate in the investigation and non-selected rate in subsequent administrative

reviews.6 GreenFirst requested that Commerce assign to it the non-selected cash deposit rate of

7.42 percent ad valorem that was assigned to RYAM in the most recent administrative review to

which it was subject, rather than the all-others cash deposit rate of 14.19 percent ad valorem

from the investigation and to which GreenFirst’s imported merchandise has been subject since

August 28, 2021.7

        On November 16, 2021, Commerce decided not to initiate a CVD CCR based on the facts

presented in GreenFirst’s submission.8 In its CCR Request, GreenFirst reported that it acquired

full ownership of RYAM’s newsprint mill and six sawmills on August 28, 2021.9 Commerce

determined that GreenFirst’s acquisition involved the purchase of assets, as opposed to the

purchase of a firm, and that RYAM continues to operate.10 Commerce explained that



4
  See Order.
5
  See GreenFirst’s Letter, “GreenFirst Forest Products and Rayonier A.M. Request for Changed Circumstances
Review,” dated October 4, 2021 (CCR Request).
6
  See Order, 83 FR at 348-49; see also Certain Softwood Lumber Products from Canada: Final Results of the
Countervailing Duty Administrative Review; 2017–2018, 85 FR 77163, 77167 (December 1, 2020); Certain
Softwood Lumber Products from Canada: Notice of Amended Final Results of the Countervailing Duty
Administrative Review, 2019, 87 FR 1114, 1117 (January 10, 2022); and Certain Softwood Lumber Products from
Canada: Final Results and Final Rescission, in Part, of the Countervailing Duty Administrative Review, 2020, 87
FR 48455, 48459 (August 9, 2022).
7
  See CCR Request at 8.
8
  See Decision Letter.
9
  See CCR Request at 4-6.
10
   See Decision Letter.

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GreenFirst’s purchase of the newsprint mill and six sawmills from RYAM constitutes a

significant change that could have affected the nature and extent of GreenFirst’s level of

subsidization, and therefore, it would be inappropriate to simply apply to GreenFirst the cash

deposit rate applicable to RYAM.11 Thus, in accordance with Commerce’s significant changes

practice regarding successorship, as articulated in Pasta from Turkey,12 Commerce declined to

initiate a CVD CCR for GreenFirst.

        On January 18, 2022, GreenFirst submitted a request for reconsideration.13 On February

24, 2022, Commerce again determined, for the same reasons articulated in the Decision Letter,

not to initiate GreenFirst’s request for a CVD CCR.14 Subsequently, GreenFirst challenged

before this Court Commerce’s decision to not conduct a CVD CCR.

        B. REMAND OPINION

        In its Remand Order, the CIT stated that it is unclear why Commerce’s significant

changes practice applies to the facts of GreenFirst’s request for a CVD CCR, where the

predecessor company, RYAM, was not previously individually examined and received the all-

others rate in the investigation and the non-selected rate in subsequent administrative reviews.

The Court explained:

        In denying the request for a CCR Commerce invokes its Pasta from Turkey practice
        explaining when a significant change is present Commerce finds it “inappropriate
        to affirm a cash deposit rate that had been calculated during a previous time period
        based upon a significantly different fact pattern.” … As explained in Pasta from
        Turkey and Marsan, the practice applies when a successor-in-interest stands to
        inherit a company’s individually-calculated rate. Implicit in Commerce’s
        explanation is that the rate is a function of RYAM’s actual level of subsidization

11
   Id. at 2.
12
   See Certain Pasta from Turkey: Preliminary Results of Countervailing Duty Changed Circumstances Review, 74
FR 47225 (September 15, 2009) (Pasta from Turkey Preliminary Results), unchanged in Certain Pasta from Turkey:
Final Results of Countervailing Duty Changed Circumstances Review, 74 FR 54022, (October 21, 2009) (Pasta
from Turkey Final Results), and accompanying Issues and Decision Memorandum (collectively, Pasta from Turkey).
13
   See GreenFirst’s Letter, “GreenFirst Forest Products and Rayonier A.M. Request for Reconsideration,” dated
January 18, 2022.
14
   See Reconsideration Letter.

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          which is unique to RYAM and not necessarily applicable to GreenFirst. As
          GreenFirst points out, however, Commerce calculated RYAM’s rate by averaging
          the rates of non-selected companies, and not by individually examining RYAM.15

          The CIT found that, because RYAM was not previously individually examined, it cannot

discern why it would be reasonable for Commerce to apply its Pasta from Turkey significant

changes practice to deny GreenFirst’s request for a CVD CCR. Thus, the CIT remanded

Commerce to either reconsider or further explain the basis for its determination that the

significant changes practice applies where the predecessor company was not individually

examined.

          Pursuant to the Remand Order, we further explain, below, why Commerce’s significant

changes practice with regard to successorship, as articulated in Pasta from Turkey, applies in a

CVD CCR where the predecessor company was not individually examined.

          C. Draft Results of Redetermination

          Commerce released the Draft Results of Redetermination on January 12, 2023,

explaining why its significant changes practice, as articulated in Pasta from Turkey, is applicable

when considering whether to initiate a request for a CVD CCR regardless of whether the

predecessor company was individually examined in a prior segment of the proceeding.16

GreenFirst submitted timely comments on the Draft Results of Redetermination on January 19,

2023.17




15
   See Remand Order at 8-9.
16
   See Draft Results of Redetermination Pursuant to Count Remand, GreenFirst Forest Products and GreenFirst
Forest Products (QC) Inc. v. United States, Court No. 22-00097, Slip Op. 22-126 (CIT November 18, 2022), dated
January 12, 2023 (Draft Results of Redetermination).
17
   See GreenFirst’s Letter, “GreenFirst Comments on Draft Results of Redetermination,” dated January 19, 2023
(GreenFirst Comments).

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III.    ANALYSIS

        Section 751(b)(1) of the Tariff Act of 1930, as amended, directs Commerce to conduct a

review of a final affirmative CVD determination when it receives a request from an interested

party “which shows changed circumstances sufficient to warrant a review of such

determination,” but the statute does not define the term “changed circumstances.”

        Prior to October 2009, Commerce generally applied the same criteria it uses in

conducting successor-in-interest analyses in antidumping duty (AD) changed circumstances

proceedings to CVD changed circumstances proceedings.18 In 2006, however, Commerce

announced that it was going to consider whether it was appropriate to continue applying the AD

successorship criteria in the context of CVD cases.19 Subsequently, in 2007, Commerce

published a Federal Register notice indicating that it was considering changing its practice

concerning successorship analyses in the context of CVD cases, and requested comments.20

After considering parties’ comments, during the course of the 2009 Pasta from Turkey CVD

CCR, Commerce promulgated a new approach to CVD CCRs that Commerce stated it intended

to apply to future CVD CCR proceedings:

        {O}ur approach to CVD CCRs going forward will be as follows. As a general rule,
        in a CVD CCR, {Commerce} will make an affirmative CVD successorship finding
        (i.e., that the respondent company is the same subsidized entity for CVD cash
        deposit purposes as the predecessor company) where there is no evidence of
        significant changes in the respondent’s operations, ownership, corporate or legal
        structure during the relevant period (i.e., the “look-back window”) that could have
        affected the nature and extent of the respondent’s subsidy levels.21


18
   See Pasta from Turkey Preliminary Results, 74 FR at 47226.
19
   See Stainless Steel Sheet and Strip in Coils from the Republic of Korea: Preliminary Results of Countervailing
Duty Changed Circumstances Review, 71 FR 75937, 75940 (December 19, 2006) (stating Commerce “intends to
further consider the issue of whether alternative or additional successorship criteria would be appropriate in the
{countervailing duty} context, and therefore, {Commerce} anticipates releasing a separate Federal Register notice
shortly hereafter inviting parties to submit public comments on the issue.”) (emphasis omitted).
20
   See Countervailing Duty Changed Circumstances Reviews; Request for Comment on Agency Practice, 72 FR
3107 (January 24, 2007) (Request for Comment).
21
   See Pasta from Turkey Preliminary Results, 74 FR at 47227.

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        Subsequently, the Court held that Commerce has “discretion to construe the breadth of

CCRs.”22 As developed in Pasta from Turkey, and promulgated in response to comments

responding to Commerce’s Request for Comment, Commerce set forth specific successorship

criteria for CVD CCRs because AD and CVD proceedings are focused on analytically distinct

questions.23 Where AD proceedings focus on the extent to which a foreign producer or exporter

has made sales at below fair value, CVD proceedings focus on the extent to which a foreign

producer or exporter has been subsidized by their governments. As such, an AD CCR analysis is

concerned with the pricing behavior of a successor company, whereas a CVD CCR is concerned

with the subsidization of the successor company and, therefore, the application of a different

successor-in-interest methodology for CVD CCRs is appropriate.24

        Commerce’s practice regarding the successorship analysis in a CVD CCR, as articulated

in Pasta from Turkey, is not to consider a company to be the successor-in-interest for cash

deposit purposes when the requesting company has undergone significant changes that would

require Commerce to fully assess the company’s level of subsidization to determine the effects of

the changes. Hence, under this practice, Commerce will make an affirmative CVD successorship

finding (i.e., that the successor company is the same subsidized entity for CVD cash deposit

purposes as the predecessor company) only where there is no evidence of significant changes in

the requesting party’s operations, ownership, corporate or legal structure.

        In Pasta from Turkey, Commerce provided a non-exhaustive list of the changes it

considers significant: (1) changes in ownership, other than regular buying and selling of publicly

owned shares held by a broad array of investors; (2) corporate mergers and acquisitions


22
   See Marsan Gida Sanayi Ve Ticaret, AS v. United States, 35 CIT 222, 228 (2011) (Marsan) (quoting Chevron,
U.S.A., Inc. v. Nat’l Res. Def. Council, Inc., 467 U.S. 837, 843-44 (1984)).
23
   See Pasta from Turkey Preliminary Results, unchanged in Pasta from Turkey Final Results.
24
   See Pasta from Turkey Preliminary Results, 74 FR at 47227, unchanged in Pasta from Turkey Final Results.

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involving the respondent’s consolidated or cross-owned corporate family and outside companies;

and (3) purchases or sales of significant productive facilities.25 In addition, under the practice,

where a change occurs in a company’s operations, ownership, corporate or legal structure that is

not reflected in the non-exhaustive list, Commerce assesses whether the change could affect the

nature and extent of the requesting company’s subsidization. Commerce outlined objective

criteria for this assessment, such as: (1) continuity in the cross-owned or consolidated

respondent company’s financial assets and liabilities; (2) continuity in its production and

commercial activities; and (3) continuity in the level of the government’s involvement in the

respondent’s operations or financial structure (e.g., government ownership or control, the

provision of inputs, loans, equity).26

           These criteria determining whether a significant change affects the nature and extent of a

company’s subsidization apply whether or not the predecessor company was individually

examined. If a successor company has undergone such significant changes that it would no

longer receive the same level of subsidization as the predecessor company, it is essentially a

different entity. This is a distinct issue from whether or not the predecessor company was

individually examined. The crux of the CVD successor-in-interest methodology is not whether

the predecessor company was individually examined but whether the successor company

underwent significant changes in ownership, structure, and productive facilities, such that it is

not the same entity as the predecessor company. In such circumstances where “significant

changes” are present, it is not appropriate for the requesting company to inherit the cash deposit

rate of essentially a different company. Rather, it is appropriate for the requesting company to be



25
     See Pasta from Turkey Preliminary Results, 74 FR at 47227-28, unchanged in Pasta from Turkey Final Results.
26
     See Pasta from Turkey Preliminary Results, 74 FR at 47228, unchanged in Pasta from Turkey Final Results.


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assigned the all-others rate from the investigation. Thus, the successor-in-interest analysis

evaluates the changes to a company to determine whether those changes would make it

appropriate to treat the former and subsequent company as if they were the same entity

regardless of whether the predecessor company participated in the investigation or an

administrative review. Accordingly, an individually calculated rate assigned to a predecessor

company is not requisite for a successor-in-interest analysis to be conducted in a CVD CCR.

           Though the predecessor company examined in Pasta from Turkey was individually

examined in a prior segment of the proceeding, there is no language within Pasta from Turkey

that expressly limits Commerce’s successor-in-interest analysis in CVD CCRs to cases in which

the predecessor company was individually examined. Moreover, there is nothing inherent in the

approach or CVD-specific criteria, elucidated in Pasta from Turkey, that would limit the

successor-in-interest methodology to companies with an individually calculated rate. As

Commerce intended, Pasta from Turkey expounds that in determining whether to conduct a CVD

CCR, Commerce looks to whether a “significant change” occurred with the successor company

and not whether the predecessor company was individually examined in a prior segment of the

proceeding. To that end, Commerce’s analysis “will focus on whether a significant change

occurred in the {successor} company’s operations, ownership, corporate or legal structure and

not whether those changes, in fact, ultimately did affect the respondent’s subsidization or by how

much.”27 Thus, the successorship standard as set forth in Pasta from Turkey applies both when

the predecessor company was individually examined and when it was not.

            Having applied the successor-in-interest methodology to GreenFirst’s CVD CCR

request, Commerce determined that GreenFirst is not the same company as RYAM because a



27
     See Pasta from Turkey Preliminary Results, 74 FR at 47228, unchanged in Pasta from Turkey Final Results.

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“significant change” had occurred in its corporate structure.28 Accordingly, Commerce did not

initiate the CCR request.29 Commerce relied on the information provided in the CCR Request to

make this determination. Commerce noted that GreenFirst’s acquisition only involved the

purchase of certain RYAM assets (i.e., a newsprint mill and six sawmills) as opposed to the

purchase of the entirety of RYAM.30 Furthermore, Commerce found that RYAM, for which

GreenFirst claims to be the successor-in-interest, continues to operate.31 Indeed, RYAM now

partially owns the parent company, GreenFirst Forest Products.32

        As discussed in Pasta from Turkey, purchases or sales of significant productive facilities

during the relevant period of the CVD CCR, which could affect the nature and extent of the

countervailable subsidies attributable to the requesting company, are examples of significant

changes that would preclude Commerce from conducting a CVD CCR.33 As this Court noted in

Marsan, “Commerce’s methodology simply evaluates the changes to a company to determine

whether those changes would make it inappropriate to treat the former and subsequent company

as if they were the same entity and entitled to the same cash deposit rate.”34 Thus, on the basis of

the evidence submitted by GreenFirst in its CCR Request, Commerce concluded that

GreenFirst’s purchase of assets from RYAM constitutes a “significant change” under the

successor-in-interest methodology set forth in Pasta from Turkey. Given that a “significant

change” occurred, it is inappropriate for GreenFirst to inherit the cash deposit rate assigned to

RYAM, regardless of whether RYAM was individually examined, because GreenFirst and

RYAM are not the same company.


28
   See Decision Letter; see also Reconsideration Letter.
29
   Id.
30
   Id.
31
   Id.
32
   Id.
33
   See Pasta from Turkey Preliminary Results, 74 FR at 47227-28, unchanged in Pasta from Turkey Final Results.
34
   See Marsan, 35 CIT at 231 (emphasis in original).

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IV.       INTERESTED PARTY COMMENTS

          As noted above, Commerce released the Draft Results of Redetermination on January 12,

2023.35 GreenFirst submitted comments on January 19, 2023.36 The arguments presented by

GreenFirst are addressed below.

GreenFirst Comments37

         When the Court rejected Commerce’s reasons for not initiating a CCR for GreenFirst, it

          held that Commerce’s application of Pasta from Turkey in this case was unreasonable

          because, inherent in the Pasta from Turkey practice is that Commerce has calculated an

          individual subsidy rate for the predecessor company, which Commerce did not do in this

          case.

         Commerce should revise the Draft Results of Redetermination and initiate a CCR

          because its reasoning for not initiating/conducting a CVD CCR ignores (a) the Court’s

          holding that Pasta from Turkey applies when a company stands to inherit a company’s

          individually-calculated rate; and (b) the purpose of the Pasta from Turkey practice, which

          is to avoid CCRs when significant changes exist that affect the previously determined

          nature and extent of a company’s subsidization (i.e., when the predecessor company has

          an individually-calculated rate).

         Because the Pasta from Turkey practice exists to foreclose a CCR where there has been a

          significant change that could impact the rate of subsidization, its foundation is that there

          be an individually calculated subsidy rate for the predecessor company. If there is no

          individually-calculated rate, then there can be no concern of transferring one company’s



35
   See Draft Results of Redetermination.
36
   See GreenFirst Comments.
37
   Id.

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         level of subsidization to another company that experienced significant changes that could

         have affected the nature and extent of the respondent’s subsidy levels.

        Without an individually-calculated rate for the predecessor company, there is no level of

         subsidization that could be affected by changes in a successor company. Citing Pasta

         from Turkey and its affirmance of that practice in Marsan, the Court recognized this

         precondition when it held that “the practice applies when a successor-in-interest stands to

         inherit a company’s individually-calculated rate.”38

        The Court already rejected Commerce’s argument that the Turkey from Pasta analysis

         applies regardless of whether the company has been individually examined. Commerce

         simply repeats that whether there has been a significant change is a “distinct issue from

         whether or not the predecessor company was individually examined,”39 but fails to

         explain how a practice that was created to prevent a successor company from inheriting a

         rate reflective of a predecessor company’s level of subsidization can apply when the

         predecessor company’s level of subsidization was never determined.

        It is arbitrary and unreasonable to apply Pasta from Turkey, a practice built upon

         avoiding the improper transfer of an individual subsidy rate from one company to

         another, to a situation where a predecessor company never received an individual subsidy

         rate.

        Commerce wrongly stated that there is “no language within Pasta from Turkey that

         expressly limits Commerce’s successor-in-interest analysis…to cases in which the

         predecessor company was individually examined.”40 In Pasta from Turkey, Commerce



38
   Id. at 3 (citing Remand Order at 9).
39
   Id. at 5 (citing Draft Results of Redetermination at 7).
40
   Id. (citing Draft Results of Redetermination at 7-8).

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        explained that “the limited purpose of a CVD CCR generally is to determine whether a

        company is essentially the same subsidized entity as the alleged predecessor company for

        cash deposit purposes.”41 This practice assumes that there was a cash deposit rate that

        reflected the respondent’s existing subsidy levels and declared that significant changes

        affecting the nature and extent of the subsidization that led to that individual rate would

        require Commerce to “reconsider” the previously established subsidy levels. Underlying

        the language in Pasta from Turkey is the understanding that the predecessor company had

        an individually-calculated subsidy rate.42

Commerce’s Position: We find that GreenFirst did not present any new arguments that warrant

Commerce to reconsider the Draft Results of Redetermination, and we continue to decline to

initiate a CCR.

        As an initial matter, we disagree with GreenFirst that the Court held that the Pasta from

Turkey practice only applies when a successor-in-interest stands to inherit a company’s

individually-calculated rate and that the Court rejected Commerce’s application of the Pasta

from Turkey criteria as unreasonable in this case.43 Contrary to GreenFirst’s assertion, the Court

did not make such a determination. Rather, in the context of understanding why Commerce’s

significant changes practice applies here, the Court, in its opinion, stated: “{a}s explained in

Pasta from Turkey and Marsan, the practice applies when a successor-in-interest stands to inherit

a company’s individually-calculated rate.”44 The Court further explained that “{i}n this case {in

which the predecessor company was not individual examined} it is unclear from Commerce’s




41
   Id. (citing Pasta from Turkey Preliminary Results, 74 FR at 47227 (emphasis added)).
42
   Id. at 6-7 (citing Pasta from Turkey Preliminary Results, 74 FR at 47227; and Marsan, 35 CIT at 229 and 231).
43
   See GreenFirst Comments at 1 and 3-4 (citing Remand Order at 9).
44
   See Remand Order at 9.

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explanation why its significant changes practice applies.”45 The Court then opined that the

reasonableness of Commerce’s practice depends on its rationale and remanded to Commerce for

further explanation the basis for its determination that its significant changes practice applies

where the predecessor company was not individually examined, or reconsider.46

         Therefore, within the Draft Results of Redetermination, we further explained why

Commerce’s significant changes practice, as articulated in Pasta from Turkey and upheld in

Marsan, is applicable when considering whether to initiate a request for a CVD CCR when the

predecessor company was not individually examined.47 We expounded on the fact that whether

a predecessor company was, or was not, individually examined in a prior segment of a

proceeding has no bearing on whether Commerce will initiate and conduct a CVD CCR

requested by the alleged successor company.48 Upon receipt of a CVD CCR request, the

consideration before Commerce is not whether the predecessor company was assigned an

individually-calculated subsidy rate, but rather whether a significant change occurred (i.e.,

changes to the company’s operations, ownership, corporate or legal structure) affecting the level

of subsidization such that it is not appropriate for the requesting company to inherit the cash

deposit rate of essentially a different company, as articulated in Pasta from Turkey.

         GreenFirst argues that “there is no reason for the Pasta from Turkey practice to exist

when the predecessor company has no individually-calculated rate.”49 In support of its

argument, GreenFirst notes, in Pasta from Turkey, Commerce stated that “the limited purpose of

a CVD CCR generally is to determine whether a company is essentially the same subsidized




45
   Id. at 8.
46
   Id. at 9-10.
47
   See Draft Results of Redetermination at 4-9.
48
   Id.
49
   See GreenFirst Comments at 3.

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entity as the alleged predecessor company for cash deposit purposes,”50 which GreenFirst

contends indicates an understanding that the predecessor company has an individually-calculated

subsidy rate. We find that such arguments demonstrate GreenFirst’s misunderstanding of the

Pasta from Turkey practice.

        Commerce’s practice regarding the successorship analysis in a CVD CCR is not to

consider a company to be the successor-in-interest for cash deposit purposes when the requesting

company has undergone significant changes that would require Commerce to fully assess the

successor company’s level of subsidization to determine the effects of the changes.51 Under this

practice, Commerce will make an affirmative CVD successorship finding (i.e., that the successor

company is the same subsidized entity for CVD cash deposit purposes as the predecessor

company) only where there is no evidence of significant changes in the requesting party’s

operations, ownership, corporate or legal structure.52 In Pasta from Turkey, Commerce provided

a non-exhaustive list of the changes it considers significant: (1) changes in ownership, other than

regular buying and selling of publicly owned shares held by a broad array of investors; (2)

corporate mergers and acquisitions involving the respondent’s consolidated or cross-owned

corporate family and outside companies; and (3) purchases or sales of significant productive

facilities.53 These criteria, which determine whether a significant change affects the nature and

extent of a company’s subsidization, apply regardless of whether the predecessor company was

individually examined. As underscored in the Draft Results of Redetermination: “The crux of

the CVD successor-in-interest methodology is not whether the predecessor company was

individually examined but whether the successor company underwent significant changes in


50
   Id. at 5 (citing Pasta from Turkey Preliminary Results, 74 FR at 47227).
51
   See Pasta from Turkey Preliminary Results, 74 FR at 47227-28, unchanged in Pasta from Turkey Final Results.
52
   Id.
53
   Id.

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ownership, structure, and productive facilities, such that it is not the same entity as the

predecessor company.”54 As was demonstrated in GreenFirst’s own request for a CVD CCR,

significant changes took place such that it was not the same entity as RYAM for cash deposit

purposes.

        GreenFirst, however, attempts to divert attention from Pasta for Turkey’s focal point of

“significant changes” that may affect the respondent’s level of subsidization to an individually-

calculated subsidy rate by asserting that “inherent” in the Pasta from Turkey practice is that

Commerce has calculated an individual subsidy rate for the predecessor company.55 However, if

Commerce’s intent was for the significant changes practice, articulated in Pasta from Turkey, to

apply only when the predecessor company has an individually-calculated rate, it would have

stated so. Commerce thus is in no way precluded from applying its Pasta from Turkey practice

both when the predecessor company was individually examined, and when it was not.

Moreover, in Pasta from Turkey, Commerce was unequivocal that its successor-in-interest

methodology was to be the standard for all CVD CCRs, stating:

        With this in mind, our approach to CVD CCRs going forward will be as follows.
        As a general rule, in a CVD CCR, the Department will make an affirmative CVD
        successorship finding (i.e., that the respondent company is the same subsidized
        entity for CVD cash deposit purposes as the predecessor company) where there is
        no evidence of significant changes in the respondent’s operations, ownership,
        corporate or legal structure during the relevant period (i.e., the “look-back
        window”) that could have affected the nature and extent of the respondent’s
        subsidy levels.56

It was, therefore, neither arbitrary nor unreasonable, as GreenFirst claims, for Commerce to

apply its Pasta from Turkey practice when considering whether to initiate the CVD CCR

requested by GreenFirst. In accordance with the CVD successor-in-interest methodology, and


54
   See Draft Results of Redetermination at 7.
55
   See GreenFirst Comments at 4.
56
   See Pasta from Turkey Preliminary Results, 74 FR at 47227-28, unchanged in Pasta from Turkey Final Results.

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the evidence submitted by GreenFirst in its CCR Request, Commerce properly concluded that

GreenFirst’s purchase of assets from RYAM constitutes a “significant change” and, thus,

declined to initiate a CVD CCR for GreenFirst.

V.       FINAL RESULTS OF REDETERMINATION

         Pursuant to the Court’s Remand Order, Commerce has further explained why its

significant changes practice, as articulated in Pasta from Turkey, is applicable when considering

whether to initiate a request for a CVD CCR regardless of whether the predecessor company was

individually examined in a prior segment of the proceeding.

                                       2/14/2023



 X

  Signed by: International Trade Administration
Ryan Majerus
Deputy Assistant Secretary
 for Policy and Negotiations




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